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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )            Crim. No. 07-108-GFVT
                                                 )
V.                                               )
                                                 )
KAREY MORGAN DILLON,                             )                     ORDER
                                                 )
       Defendant.                                )

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition (also known as a

Report and Recommendation or “R&R”) [R. 244] filed by United States Magistrate Judge Hanly

A. Ingram. The Defendant, Karey Morgan Dillon, allegedly violated the terms of her supervised

release by committing a violation of state law—specifically by being charged with burglary in

the third degree. [R. 232.] Upon notification of that violation, the Court issued an arrest warrant.

[R. 235.] This matter was then referred to Judge Ingram to conduct a final revocation hearing

and recommend a proposed disposition of the matter. [R. 237.]

       On November 20, 2012, Judge Ingram conducted a telephonic conference with Dillon’s

counsel and counsel for the United States because of an addendum to the Supervised Release

Violation Report. [R. 242, 243.] This addendum was issued on November 16, 2012 by the

United States Probation Office as a result of the state criminal charges, which constituted the

alleged supervised release violation, being dismissed without prejudice in state court. [R. 244 at

2.] As a result of that development, the United States made an oral motion to dismiss the

pending charges. [R. 244 at 2.]


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          On November 29, 2012, Judge Ingram issued his R&R, recommending that the United

States’ motion to dismiss be granted. [R. 244 at 3.] The R&R directed the parties’ attention to

the relevant statute which requires any objections to be filed within fourteen (14) days of service.

[Id. at 10.] See 28 U.S.C. § 636(b)(1). There were no objections filed during the relevant time

period.

          Generally, this Court must make a de novo determination of those portions of a

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, however, this Court is not required to “review . . . a magistrate’s factual or

legal conclusions, under a de novo or any other standard . . . .” Thomas v. Arn, 474 U.S. 140,

150 (1985). Parties who fail to object to a Magistrate’s report and recommendation are also

barred from appealing a district court’s order adopting that report and recommendation. United

States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the

record, and it agrees with the Magistrate Judge’s Recommended Disposition.

          Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows: The Recommended Disposition [R. 244] as to Karey Morgan Dillon is ADOPTED as

and for the Opinion of the Court and the pending charges will be DISMISSED.

          This 31st day of January, 2013.




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